         Case 1:20-cv-01207-SDA Document 129 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                         10/16/2020
 Christopher Bailey et al., on behalf of
 themselves and all others similarity
 situated,
                                                             1:20-cv-01207 (SDA)
                                 Plaintiffs,
                                                             ORDER
                     -against-

 Bouchard Transportation Co., Inc. et al.,

                                 Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

        On October 15, 2020, the parties filed a Joint Letter indicating that all Defendants have

filed for bankruptcy. (See ECF No. 128.) Accordingly, it is hereby Ordered that this action is

automatically stayed pending resolution of the bankruptcy cases. See 11 U.S.C. § 362. It is further

Ordered that the parties shall file a status letter informing the Court how the parties wish to

proceed in this matter no later than two weeks after the bankruptcy cases conclude or the

automatic stay is lifted, whichever is first.

SO ORDERED.

DATED:          New York, New York
                October 16, 2020

                                                     ______________________________
                                                     STEWART D. AARON
                                                     United States Magistrate Judge
